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case 2:04-cr-20500-JQMIML§Q@EJ§ Dl§lgeldR<_Jf§(QB/CO<§URPT&Q€ 1 Of 2 PaQ€

FOR THE
wEsTERN DISTRICT oF TENNESSEE HLHJHF ,
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cR. No. 04-26§§ FMaWs

 

UNITED STATES OF AMERICA,

  

'VS.

LOVANIA BROWNLEE,
APPLICATION, ORDER and WRIT FOR HABEAS CORPUS AD PROSEQUENDUM

JENNIFER L. WEBBER, Assistant United States Attorney, applies to the Court
for a Writ to have LOVANIA BROWNLEE, R&I # 018523, DOB 2/12/49, SSN# XXX-XX-XXXX,
now being detained in the West Tennessee State Penitentiary, Henning, Tennessee,
appear before the Honorable Samnel H. Mays, Jr. on Thursday, May 19, 2005, at
11:30 a.m. for a report date and for such other appearances as this Court may
direct.

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Respeotfully submitted this Li' day of May, 2005.

C;¢A_A/ / // ,2 ,é /5~#
JENNIF:§T§;;YEBBER
AssIsT TED sTATEs ATTORNEY

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Upon consideration of the foregoing Application, DAVID G. JOLLEY, U.S.
MARSHAL, WESTERN DISTRICT OF TENNESSEE, MEMPHIS, TN, SHERIFF/WARDEN, WEST
TENNESSEE STATE PENITENTIARY, HENNING, TENNESSEE.

YOU ARE HEREBY COMMANDED to have LOVANIA BROWNLEE appear before the
Honorable Samuel H. Mays, Jr. at the date and time aforementioned.

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ENTERED this fw day of May, 2005.

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DIANE VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

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With Hule 55 and/or 32(|:)) FHCrP on

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:04-CR-20500 Was distributed by faX, mail, or direct printing on
May 5, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

